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600 Lexington Avenue, 8th Floor
New York, NY 10022

Direct: 212-897-9659
Email: eabbot@hpylaw.com
                                                                   November 2, 2020
         VIA ECF

         Hon. Laura T. Swain
         United States District Court
         Southern District of New York
         Daniel Patrick Moynihan
         United States Courthouse

                                                                            MEMO ENDORSED
         500 Pearl St.
         New York, NY 10007-1312

                   RE:      Victor Lopez v. Timberland LLC
                            Case No. 19-cv-11769-LTS-OTW
                            Third Unopposed Letter Motion to Stay Case

         Dear Judge Swain:

                As you know, I represent Defendant, VF Outdoor, LLC (“VF Outdoor”), in this case. I
         write with the consent of Plaintiff’s counsel to request a further stay of all proceedings in this case.
         This request is made to permit the Court and the parties to benefit from a forthcoming ruling by
         the Second Circuit.

                 As background, the above-captioned case is before the Court along with two related matters
         (Lopez v. Vans, Inc., Case No. 1:19-cv-11809-LTS-OTW and Lopez v. VF Outdoor, LLC d/b/a
         The North Face, Case No. 1:19-cv-11768-LTS-OTW) in which Plaintiff asserts that VF Outdoor
         has violated the Americans with Disabilities Act, the New York State Human Rights Law, and the
         New York City Human Rights Law with respect to the gift cards associated with its the North
         Face, Timberland, and Vans brands. Pursuant to a prior ruling of the Court, this case is currently
         stayed until November 4, 2020.

                 As discussed in the parties’ prior request to stay filed on July 30, 2020 (Doc. No. 17), the
         parties sought a stay of this case pending a decision from the Second Circuit in the consolidated
         appeal in Mendez v. Ann Taylor, Inc., Case No. 20-1550, which the parties believe will directly
         impact this case. The Mendez appeal is now scheduled to be argued the week of January 11, 2021.

                 As such, the parties believe that a continued stay of the instant case favors judicial
         economy, in that it will allow the Court and the parties to benefit from consideration of the same
         legal issues to be presented to and ultimately decided by the Second Circuit. A stay also allows
         the parties and the Court to conserve resources by avoiding potentially unnecessary briefing at a
         time when both Court staff and counsel are continuing to work under many unusual constraints
         necessitated by the COVID-19 pandemic.
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        For these reasons, the parties respectfully request that the Court extend the stay in this case
for an additional ninety (90) days. If the Second Circuit has not reached a decision by February 4,
2020, the parties will reassess whether the stay should continue and will file a status report
updating the Court accordingly.

                                                       Respectfully submitted,


                                                       Edward P. Abbot, Esq.
                                                       HAWKINS PARNELL & YOUNG, LLP

cc: Bradley Gurion Marks, Esq. (via ECF)


The requested stay extension is granted. DE# 20 resolved.
SO ORDERED.
11/02/2020
/s/ Laura Taylor Swain
